                                UNITED STATES DISTRICT COURT
                   EASTERN                       DISTRICT OF                               TENNESSEE


        UNITED STATES OF AMERICA
                                                                                       WITNESS LIST
                          V.
         Jerry Wayne Wilkerson, et. al.                                    Case Number: 1:18-cr-11

PRESIDING JUDGE                       PLAINTIFF’S ATTORNEY                DEFENDANT’S ATTORNEY
        Harry S. Mattice, Jr.            Perry Piper and Frank Clark                        See minutes
TRIAL DATE (S)                        COURT REPORTER                      COURTROOM DEPUTY
       10/8/2019-10/9/2019                    Shannan Andrews                              Stefanie Capetz
 USA    DEF.      DATE OF TESTIMONY                                        WITNESSES


W35                 10/8/2019                                          Erik Srock, sworn
W36                 10/9/2019                                     Brian Kriplean, sworn




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